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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    M & G USA CORPORATION, et al.,1                           Case No. 17-12307 (BLS)

                              Debtors.                        (Jointly Administered)


                                            NOTICE OF SERVICE

             PLEASE TAKE NOTICE that on the 23rd day of October 2018, Pepsi-Cola Advertising and

Marketing, Inc., by and through its undersigned counsel, caused a copy of Pepsi-Cola Advertising

and Marketing, Inc.’s First Set of Interrogatories, Requests for Production of Documents and

Requests for Admission to be served on the following parties via email:

                          Laura Davis Jones, Esquire
                          Pachulski Stang Ziehl & Jones LLP
                          919 North Market Street, 17th Floor
                          Wilmington, DE 19801

                          Peter S. Saba, Esquire
                          Jones Day
                          250 Vesey Street
                          New York, NY 10281-1047

                          Daniel J. Merrett, Esquire
                          Jones Day
                          1420 Peachtree Street, N.E.
                          Suite 800
                          Atlanta, Georgia 30309-3053




1
      The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
      numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M & G
      Polymers USA, LLC (7593), M&G Finance Corporation (4230); M&G Waters USA, LLC (2195), Mossi &
      Ghisolfi International S.à.r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.à.r.l. (7812), M & G USA
      Holding, LLC (3451), Chemtex International Inc. (7695).
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and on the following party via hand-delivery:

              Laura Davis Jones, Esquire
              James E. O’Neill, Esquire
              Joseph M. Mulvihill, Esquire
              Pachulski Stang Ziehl & Jones LLP
              919 North Market Street, 17th Floor
              Wilmington, DE 19801




Dated: October 24, 2018                     CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware

                                                   /s/ William E. Chipman, Jr.
                                            William E. Chipman, Jr. (No. 3818)
                                            Mark D. Olivere (No. 4291)
                                            Hercules Plaza
                                            1313 North Market Street, Suite 5400
                                            Wilmington, Delaware 19801
                                            Telephone:     (302) 295-0191
                                            Facsimile:     (302) 295-0199
                                            Email:         chipman@chipmanbrown.com
                                                           olivere@chipmanbrown.com

                                            Counsel for Pepsi-Cola Advertising and Marketing,
                                            Inc.




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                                 CERTIFICATE OF SERVICE

       I, William E. Chipman, Jr., hereby certify that on the 24th day of October 2018, I caused

copies of (i) Notice of Service of Pepsi-Cola Advertising and Marketing, Inc.’s First Set of

Interrogatories, Requests for Production of Documents and (ii) this Certificate of Service to be

served upon the parties listed below via first class mail:

               Laura Davis Jones, Esquire
               James E. O’Neill, Esquire
               Joseph M. Mulvihill, Esquire
               Pachulski Stang Ziehl & Jones LLP
               919 North Market Street, 17th Floor
               Wilmington, DE 19801

               Peter S. Saba, Esquire
               Jones Day
               250 Vesey Street
               New York, NY 10281-1047

               Daniel J. Merrett, Esquire
               Jones Day
               1420 Peachtree Street, N.E.
               Suite 800
               Atlanta, Georgia 30309-3053




                                                               /s/ William E. Chipman, Jr.
                                                        William E. Chipman, Jr. (No. 3818)




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